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                               Exhibit A
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  Exhibit B
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                                         Exhibit C
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 Exhibit D
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                                                                     Exhibit Page 15 of 20             Exhibit E




 Online Property Access                                                         |< First << Prev Next >> Last >|      RETURN TO SEARCH LIST      Property 1 of 1


Parcel ID                         Address                              Index Order            Tax Year                           I Want To...
602-0002-0384-00                  6620 HIGHLAND AVE                    Parcel Number          2016 Payable 2017
                                                                                                                                   Start a New Search
                                                              Property Information                                                 Email the Auditor
 Tax District           015 - SILVERTON-CINTI CSD                                                        Images/Sketches           View the Online Help
 School District        CINCINNATI CSD
                                                                                                                                   Auditor's Home
 Appraisal Area                                Land Use
   60201 - SILVERTON 01                          510 - SINGLE FAMILY DWLG
                                                                                                                                 View:
 Owner Name and Address                        Mailing Name and Address
                                                                                                                                   Property Summary
   MCAFEE SHERRIE M 7063                         MCAFEE SHERRIE M 7063
   LAKOTA RIDGE DR LIBERTY TOWNSHIP OH           LAKOTA RIDGE DR LIBERTY TOWNSHIP OH                                               Appraisal Information
   45011                                         45011                                                                             Levy Information
   (call 946-4015 if incorrect)                  (call 946-4800 if incorrect)
                                                                                                                                   Transfer
 Assessed Value                                Effective Tax Rate                                        Total Tax
   39,440                                        85.884011                                                $3,087.82                Value History
 Property Description                                                                                                              Board of Revision
   HIGHLAND AVE 40 X 150 ES HIGHLAND 370.80 FT S OF OAK                                                                            Payment Detail
                                                                                                                                   Tax Distributions
              Appraisal/Sales Summary                                                  Tax/Credit/Value Summary
 Year Built                                           1932                    Board of Revision                             No     Images
 Total Rooms                                             7                    Rental Registration                           No     Special Assessment/Payoff
 # Bedrooms                                              3                    Homestead                                     No     Tax Lien Certificates
 # Full Bathrooms                                        1                    Owner Occupancy Credit                        No     CAGIS Online Maps
 # Half Bathrooms                                        0                    Foreclosure                                   No     Aerial Imagery
 Last Sale Date                                   7/1/1989                    Special Assessments                          Yes
                                                                                                                                   Owner Names
 Last Sale Amount                                       $0                    Market Land Value                         19,640
 Conveyance Number                                       0                    CAUV Value                                     0   Print:
 Deed Type                         WE - Warranty Deed (EX)                    Market Improvement Value                  93,060      Current Page
 Deed Number                                                                  Market Total Value                       112,700
                                                                                                                                   Property Report
 # of Parcels Sold                                                1           TIF Value                                      0
 Acreage                                                      0.147           Abated Value                                   0
 Front Footage                                                 0.00           Exempt Value                                   0
                                                                              Taxes Paid                                 $0.00
                                                                              Tax as % of Total Value                  2.579%

                                                                      Notes




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   wEdge version 4.0.6492.22689
   Data updated: 2017/10/17




http://wedge3.hcauditor.org/view/re/6020002038400/2016/summary                                                                                        10/18/2017
               Case
                Case1:16-bk-11430
                     1:16-bk-11430 Doc
                                    Doc142-1
                                          FiledFiled
                                                04/15/16   Entered
                                                     01/02/18       04/15/16
                                                               Entered       13:31:10
                                                                        01/02/18       DescDesc
                                                                                 13:30:54   Main
                                         Document
                                           Exhibit Page Page
                                                           1619
                                                              of of
                                                                 2059
 Fill in this information to identify your case:

 Debtor 1                   Sylvester L. Price                                                                                            Exhibit F
                            First Name                      Middle Name                     Last Name

 Debtor 2                   Sherrie M. Price
 (Spouse if, filing)        First Name                      Middle Name                     Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF OHIO

 Case number
 (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
         Beneficial Mortgage
 2.1                                                                                                            $50,013.00               $95,000.00                     $0.00
         Company of Ohio                          Describe the property that secures the claim:
         Creditor's Name                          2nd Mortgage on:
                                                  6620 Highland Avenue
                                                  Cincinnati, OH 45236
                                                  Currently vacant - to be listed for
                                                  sale once renovation completed
         2700 Sanders Road                        approx. June 2016
                                                  As of the date you file, the claim is: Check all that
         Prospect Heights, IL                     apply.
         60070                                     Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
  Debtor 1 only                                   An agreement you made (such as mortgage or secured
  Debtor 2 only                                       car loan)

  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit
  Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred                                    Last 4 digits of account number        6387

 2.2     GM Financial                             Describe the property that secures the claim:                 $21,782.00               $19,500.00            $2,282.00
         Creditor's Name                          2014 Chevrolet Sonic

                                                  As of the date you file, the claim is: Check all that
         P.O. Box 183583                          apply.
         Arlington, TX 76096                       Contingent
         Number, Street, City, State & Zip Code    Unliquidated
                                                   Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
  Debtor 1 only                                   An agreement you made (such as mortgage or secured
  Debtor 2 only                                       car loan)
  Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
  At least one of the debtors and another         Judgment lien from a lawsuit

Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 3
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
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                               UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF OHIO
                                       WESTERN DIVISION

In re:                                                   :
                                                         :
    Sylvester L. Price                                   :        Case No.: 16-11430
    Sherrie M. Price AKA Sherrie M.                      :        Chapter 13
    McAfee                                               :        Judge Jeffery P. Hopkins
                                                         :        ***********************
         Debtor(s).                                      :
                                                         :

                                   Exhibit G
_____________________________________________________________________________

                         RELIEF FROM STAY/ADEQUATE PROTECTION
                          EXHIBIT AND WORKSHEET REAL ESTATE
                             (For use as required by LBR 4001-1(a)(1))
____________________________________________________________________________________________

Real property address which is the subject of this motion: 6620 Highland Ave, Cincinnati, OH 45236

DEBT/VALUE REPRESENTATIONS:
     Total indebtedness of the debtor(s) as of November 24, 2017 (not to be relied upon as
     payoff quotation):                                                                      $        69,629.32
     Movant's estimated market value of the real property:                                   $       112,700.00
     Source of the estimated valuation: the Hamilton County Auditor's tax record


STATEMENT OF ARREARAGE:
     (1) As of petition filing date:                                                         $         6,234.78
         Amounts paid after the date of filing to be applied to the prepetition default:     $
    (2) Postpetition:                                                                        $        12,999.60
    (3) Monthly payment amount:                                                              $           649.98
    (4) Date of Last Payment:
    (5) Amount of Last Payment                                                               $
# of payments due postpetition                     19           (as of November 24, 2017)
# of payments received postpetition
# of payments in default postpetition              19
Total amount of postpetition payments currently in default                                   $        12,349.62
    + Postpetition late charges                                                              $             0.00
    + Other postpetition charges (describe)                                                  $             0.00

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           Foreclosure title work
           Filing fee
           Skip trace
           Document acquisition costs
           Service Process server
           Escrow Shortage (Amounts advanced on
           behalf of Debtor(s)
               Hazard Insurance                                           Dates:___________
               Taxes                                                      Dates:___________
           Appraisal
           BPO charges
           Property Inspection
           Other (Fees)                                 0.00
= Total Postpetition Arrearage                                                                   $          12,349.62

OTHER LOAN INFORMATION:
      Date of the loan                   1/9/02
      Current interest rate              11.244%

Money paid to and held by the mortgagee but not applied to the loan $0.00; if held in the form of checks, balance of
such checks $0.00, and identity of holder of the checks.

REQUIRED ATTACHMENTS TO MOTION:
        (a)      In a Chapter 13 case, a postpetition payment history;
        (b)      In all cases, copies of documents which indicate movant's interest in the subject property. For
                 purposes of example only, a complete and legible copy of the promissory note or other debt
                 instrument together with a complete and legible copy of the real estate mortgage should be
                 attached. The mortgage should bear date stamps reflecting the recording date together with
                 recording references reflecting the recordation of the mortgage with the appropriate county
                 official. If the subject property is registered land, movant shall attach a copy of the registered land
                 certificate or other documentation reflecting that the mortgage was memorialized as a lien on the
                 registered land certificate.

This Exhibit and Worksheet was prepared by:

                                                               /s/ Adam B. Hall
                                                               Adam B. Hall (0088234)
                                                               Edward H. Cahill (0088985)
                                                               John R. Cummins (0036811)
                                                               Stephen R. Franks (0075345)
                                                               Manley Deas Kochalski LLC
                                                               P.O. Box 165028
                                                               Columbus, OH 43216-5028
                                                               Telephone: 614-220-5611
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                                          Fax: 614-627-8181
                                          Attorneys for Creditor
                                          The case attorney for this file is Adam B.
                                          Hall.
                                          Contact email is abh@manleydeas.com




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        Loan          Redacted
      BK Case         16-11430                                * If prior than 12/2011 payment changes were
    Filing Date       4/15/2016                               not required to be filed with the courts or with
First Post pet date   4/30/2016                                                 Proof of claim
Pmt Change Filed      Filed Date   Effective date   Amount
   POC pmt Fied       7/18/2016      4/30/2016      $649.98
     Date Rcvd         Amount                                  Amount Due        Due Date         Suspense
                                                     Due         $649.98        4/30/2016       $    (649.98)
                                                                 $649.98        5/30/2016       $ (1,299.96)
                                                                 $649.98        6/30/2016       $ (1,949.94)
                                                                 $649.98        7/30/2016       $ (2,599.92)
                                                                 $649.98        8/30/2016       $ (3,249.90)
                                                                 $649.98        9/30/2016       $ (3,899.88)
                                                                 $649.98        10/30/2016      $ (4,549.86)
                                                                 $649.98        11/30/2016      $ (5,199.84)
                                                                 $649.98        12/30/2016      $ (5,849.82)
                                                                 $649.98        1/30/2017       $ (6,499.80)
                                                                 $649.98        2/28/2017       $ (7,149.78)
                                                                 $649.98        3/30/2017       $ (7,799.76)
                                                                 $649.98        4/30/2017       $ (8,449.74)
                                                                 $649.98        5/30/2017       $ (9,099.72)
                                                                 $649.98        6/30/2017       $ (9,749.70)
                                                                 $649.98        7/30/2017       $ (10,399.68)
                                                                 $649.98        8/30/2017       $ (11,049.66)
                                                                 $649.98        9/30/2017       $ (11,699.64)
                                                                 $649.98        10/30/2017      $ (12,349.62)
